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                                                  November 16, 2020
By ECF
The Honorable Gregory H. Woods
United States District Court
Southern District of New York
500 Pearl Street, Room 2260
New York, NY 10007


                                 Cardwell v. Davis Polk & Wardwell LLP, et al.
                                       19-cv-10256-GHW (S.D.N.Y.)


Dear Judge Woods:


        Pursuant to Rule 15(a)(2) of the F.R.C.P, 1 and in response to Your Honor’s comments
during the November 13, 2020 teleconference concerning the Second Amended Complaint
(“SAC”), Plaintiff respectfully seeks leave to clarify three counts in the SAC (ECF No. 95).
Plaintiff requested Defendants’ consent to do so, which counsel declined to provide.

        This morning, Plaintiff discovered that Counts Three, Five, and Nine of the SAC
inadvertently omit “Davis Polk” as a party that discriminated against Mr. Cardwell. To make
these three counts consistent with (i) the Counts section of the FAC (ECF No. 37), which
attributes such discrimination to “Defendants” generally, including “Davis Polk”; (ii) Count One
of the SAC, which specifically alleges that “Davis Polk discriminated against Mr. Cardwell…,”
and (iii) Counts Six and Ten (which specifically allege that “Defendants,” which includes Davis
Polk, discriminated against Mr. Cardwell)—Plaintiff seeks the Court’s permission to re-insert
“Davis Polk” to paragraphs 601, 610, 626 of the SAC.

         If the Court grants Plaintiff’s request, Plaintiff will fix the drafting error upon the re-
filing the SAC (i.e., if the Court denies, in part or whole, Defendants’ forthcoming application to
redact), in a promptly filed amended complaint, 2 or in whatever manner and timeframe the Court
permits.



                                                    Respectfully submitted,

                                                        /s/ David Jeffries

                                                          David Jeffries
1
    Fed. R. Civ. P. 15(a)(2) provides that courts “should freely give leave when justice so requires.”
2
    If the Court grants Plaintiff’s request, Plaintiff will not make any further changes to the SAC.
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cc (via ECF):

Jeh C. Johnson
Bruce Birenboim
Susanna M. Buergel
Marissa C.M. Doran

Attorneys for Defendants
